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 1 COSCA LAW CORPORATION
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 3 (916) 440-1010

 4 Attorney for Defendant
   RYAN CHEAL
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 7                              IN THE UNITED STATES DISTRICT COURT

 8                                  EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                              2:12-CR-0185-TLN
11                                  Plaintiff,              STIPULATION AND ORDER TO
                                                            CONTINUE JUDGMENT AND
12   v.                                                     SENTENCE
13   RYAN CHEAL,
14                                  Defendant.
15

16                                             STIPULATION
            The parties, by and through their counsel of record, hereby stipulate that the sentencing
17

18 hearing currently scheduled for July 25, 2019, should be continued to November 14, 2019, at 9:30

19 a.m.. A continuance is necessary because, while Mr. Cheal has pled guilty, a co-defendant is pending

20 appeal and trial, thus Mr. Cheal has not yet completed his cooperation obligations under his plea

21
     agreement. Moreover, any trial testimony by Mr. Cheal may help the Court gauge his remorse and
22
     rehabilitation, and thus assist the Court as it determines the sentence for Mr. Cheal.
23
     IT IS SO STIPULATED.
24

25 DATED:           July 23, 2019                  /s/ Jason Hitt
                                                   JASON HITT
26                                                 Assistant United States Attorney
27

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 1 DATED:        July 23, 2019             /s/ Chris Cosca
                                           CHRIS COSCA
 2                                         Counsel for Defendant
                                           RYAN CHEAL
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 4

 5                                         ORDER
 6
     IT IS SO FOUND AND ORDERED this 24th day of July, 2019.
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11                                                 Troy L. Nunley
                                                   United States District Judge
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